Case 2:04-cv-02503-BBD-dkv Document 35 Filed 04/26/05 Page 1 of 9 Page|D 27

 

UNITED sTATEs DISTRICT CoURT """~'?
'FoR THE wEsTERN DISTRICT oF TENNESSEE 05 ,,)., n _M __ _ _,
wEsTERN DIvIsIoN !'*" 1'\ 46 w l= w
treat a)j&;_:”t:t . jt
OTIS GRIFFIN, WD‘ op TN’ wi~L'M-,HZS
Plaintiff,
V.

Case. No. 04-2503 D

AETNA LIFE INSURANCE COMPANY,

Defendant.

ORDER DENYING THE MOTION OF PLAINTIFF FOR SUMMARY JUDGMENT
(Doc. no. 27); ORDER DENYING THE MOTION OF DEFENDANT FOR ENTRY OF
.IUDGMENT (Doc. no. 29)

 

Before the Couit are the motions of Otis Griff'in (“Plaintift”) for summary judgment and
Aetna Life lnsurance Company (“Defendant”) for entry of judgment The Court has jurisdiction
pursuant to 28 U.S.C. § 1331. For the following reasons, the Court DENIES Plaintiff’ s motion for
summary judgment and DENIES Det`endant’s motion for entry of judgment
l. FACTUAL BACKGROUND1

Plaintiff worked as a supervisor for Goodyear Tire and Rubber Company (“Goodyear”) prior
to suffering an on-the-job injury in 1992. After being injured, Plaintiff was evaluated by a doctor
who diagnosed him with moderate degenerative disease of the lumbar spine. Plaintiff could not
return to work as a result of his injury. Beginning April l, 1992, and continuing until August 31,

2002, Plaintiff received long term disability income benefits (“LTD benefits”) pursuant to

 

IThe following facts are taken from the memoranda in support of and in opposition to
Plaintiff’s motion for summary judgment and Defendant’s motion for entry of judgment and
from the administrative record.

This document entered on the docket£reez .~Cn:pli©ance

With Ru!e 58 and/or 79(a) FRCP on

Case 2:04-cv-02503-BBD-dkv Document 35 Filed 04/26/05 Page 2 of 9 Page|D 28

Goodyear’s Long Term Disability Plan (the “Plan”).

Defendant determines whether claimants are eligible for benefits pursuant to the Plan and
makes payments accordingly In July 2002, Defendant terminated Plaintist LTD benefits
Defendant premised its decision on the opinion of Dr. Bernard Stevens. Defendant asked Dr.
Stevens to review Plaintit`f’s records to make a determination as to his disability status. Dr. Stevens
noted in his review that Plaintiff’s file did not contain “much in the way of diagnostic testing. . . .”
More specifically, Dr. Stevens noted that the record did not contain a “plain lumbar spine x~ray
report. . . Dr. Stevens examined the medical records generated by Plaintiff’ s treating physicians,
who included Drs. J ames McAfee, John Jenkins, John Hopkins, Jeremiah Upshaw, David Bell, and
Chiropractor Curtis Damien. Dr. Stevens indicated that Plaintiff" s medical reports noted that
Plaintiff walked normally and did not have any motor, reflex, or sensory deficits. Dr. Stevens further
relied on a cardiac stress test dated June 24, 1999, which in Dr. Stevens’ opinion established that
Plaintiff could exercise up to 10.2 METS. Based on his assessment of the medical reports, Dr.
Stevens opined that Plaintiff was capable of medium work capacity From his examination of
Plaintiff’ s medical record, Dr. Stevens further completed a Physical Capacities Evaluation (“PCE”),
wherein he determined that Plaintiff could sit, stand, and walk for up to six hours per day, two hours
on a continuous basis. Dr. Stevens opined that Plaintiff` could lift and carry up to fifty pounds and
frequently push, pull, stoop, kneel, balance, and crawl. Dr. Stevens’ report and evaluation Were sent
to P]aintiff’ s physicians Drs. Jenkins and Bell signed and returned forms indicating that they agreed
with Dr. Stevens’ findings Based on Dr. Stevens’ report and a Vocational Assessment, Defendant
terminated Plaintiff’s LTD benefits, concluding that Plaintif`f could work at a sedentary to medium

exertion level and was qualified to perform such jobs as supervisor, physical education instructor,

Case 2:04-cv-02503-BBD-dkv Document 35 Filed 04/26/05 Page 3 of 9 Page|D 29

or production planner.

Plaintiff appealed Defendant’s determination ln support of his appeal, Plaintiff submitted
a medical report from Dr. Michael Hellman, who examined Plaintiff in August 2002. Dr. Hellman
opined that Plaintiff could stand or walk f`or less than three hours a day, could not push/pull more
than fifteen pounds, could only occasionally lift/carry fewer than ten pounds, and could sit for less
than three hours a day. Dr. Jenkins rescinded his agreement ofDr. Stevens’ findings, stating that he
was not a back specialist and did not make disability ratings

On December 18, 2002, Defendant reaffirmed its decision to terminate Plaintist LTD
benefits based on the recommendation of Dr. Wilhelmina Korevaar. Dr. Korevaar reviewed
Plaintiff’ s medical records, including the submissions made by Plainti ff subsequent to Defendant’s
initial determination Dr. Korevaar opined that Dr. Hellman’s findings were internally inconsistent
with Plaintiff" s medical records and inconsistent with Plaintiff’s activities as documented in the
records Dr. Korevaar agreed with Dr. Stevens’ conclusion that the record did not establish that
Plaintiff had sought consistent treatment for back pain.

Plaintiff filed a second appeal as to Defendant’s decision to terminate his LTD benefits
Defendant again affirmed its decision. On July 6, 2004, Plaintiff initiated the instant action,
asserting that Defendant violated the Employee Retirement lncome Security Act (“ERISA”), 29
U.S.C. §§ lOOl, e_t s_e_q. On January 14, 2005, Plaintiff filed a motion for summary judgment and
Defendant filed a motion for entry ofjudgment.

Il. LEGAL STANDARD
Summary judgment is proper “if the pleadings depositions answers to interrogatories and

admissions on file, together with the affidavits, if any, show that there is no genuine issue as to any

Case 2:04-cv-02503-BBD-dkv Document 35 Filed 04/26/05 Page 4 of 9 Page|D 30

material fact and that the moving party is entitled to a judgment as a matter of law.” Fed. R. Civ.
P. 56. In other words, summary judgment is appropriate when there are no genuine issues of
material fact and the moving party is entitled to judgment as a matter of law. Ld. As such, summary
judgment is appropriately granted “against a party who fails to make a showing sufficient to establish
the existence of an element essential to that party’s case, and on which that party will bear the burden
ofproof at trial.” Celotex Com. v. Catrett, 477 U.S. 317, 322 (1986).

In evaluating a motion for summary judgment, all the evidence and facts must be viewed in
a light most favorable to the nonmoving party. Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,
475 U.S. 574, 587 (1986); Wade v. Knoxville Utilities Bd., 259 F.3d 452, 460 (6th Cir. 2001),
Once a properly supported motion for summary judgment has been made, the “adverse party may
not rest upon the mere allegations or denials of [its] pleading, but . . . must set forth specific facts
showing that there is a genuine issue for trial.” Fed. R. Civ. P. 56(e). A genuine issue for trial exists
if the evidence would permit a reasonable jury to retum a verdict for the nonmoving party. Anderson
v. Liberty Lobby, lnc., 477 U.S. 242, 248 (1986). To avoid summary judgment, the nonmoving party
“must do more than simply show that there is some metaphysical doubt as to the material facts”
Matsushita, 475 U.S. at 586.
III. ANALYSIS

Plaintiff brings the instant action pursuant to 29 U.S.C. § l l32(a)( 1)(B) ofERISA. Plaintiff
contends that he was denied a full and fair review of his claim for LTD benefits Defendant contends
that the record supports its findings as to Plaintiff"s disability sufficient to warrant the entry of
judgment in its favor. As discussed below, the Court finds that a genuine issue of material fact exists

as to whether Plaintiff is totally disabled pursuant to the Plan.

Case 2:04-cv-02503-BBD-dkv Document 35 Filed 04/26/05 Page 5 of 9 Page|D 31

When reviewing a claim raised pursuant to 29 U.S.C. § 1132(a)(1)(B), the “deferential
arbitrary and capricious standard of review is appropriate . . . when the benefit plan gives the
fiduciary or administrator discretionary authority to determine eligibility for benefits.” Miller v.
Metropolitan Life Ins. Co., 925 F.2d 979, 983 (6th Cir. 1991) (citing Firestone Tire and Rubber Co.

v. Bruch, 489 U.S. 101 (1989)). “[A]n ERISA benefit plan administrator’s decisions on eligibility

 

for benefits are not arbitrary and capricious if they are ‘rational in light of the plan’s provisions.”’
§ at 984 (guoting Daniel v. Eaton Co;p., 839 F.2d 263, 267 (6th Cir. 1988)).

[T]he arbitrary and capricious standard is the least demanding form of judicial review

of administrative action. When applying the arbitrary and capricious standard,

[courts] must decide whether the plan administrator’s decision was rational in light

of the plan’s provisions Stated differently, when it is possible to offer a reasoned

explanation, based on the evidence, for a particular outcome, that outcome is not

arbitrary or capricious
McDonald v. Western*Southern Life lns. Co., 347 F.3d 16 l, 169 (6th Cir. 2003) (guoting Williams
v. lntemational Paper Co., 227 F.3d 706, 712 (6th Cir.2000)).

The arbitrary and capricious deferential review does not translate to no review, however, and
the “‘deference need not be abject.”’ I_cL at 172 (guoting Hess v. Hartf`ord Life & Accident lns. Co.,
274 F.3d 456, 461 (7th Cir.2001)). District courts must review the administrative record to
determine whether the plan administrator acted arbitrarily and capriciously in making ERISA
benefits determinations l_d_.

This obligation inherently includes some review of the quality and quantity of the

medical evidence and the opinions on both sides of the issues Otherwise, courts

would be rendered to nothing more than rubber stamps for any plan administrator’s

decision as long as the plan was able to find a single piece of evidence--no matter

how obscure or untrustworthy--to support a denial of a claim for ERISA benefits

I_d. When considering whether the plan administrator acted arbitrarily or capriciously, courts should

Case 2:O4-cv-O2503-BBD-dkv Document 35 Filed 04/26/05 Page 6 of 9 Page|D 32

consider as a factor the conflict of interest created by the dual roles the plan administrator holds as
the decision maker and as the insurer/payer of benefits M, 925 F.2d at 984.

Both parties agree that the arbitrary and capricious standard of review applies Thus, the
Court must determine whether a genuine issue of material fact exists as to whether Defendant’s
decision to terminate Plaintiff’s LTD benefits was arbitrary and capricious The Plan provides that
“written proof of the continuance of such disability must be furnished to” Defendant as reasonably
required The Plan further provides that

“Total disability” or “totally disabled” means during the twelve month qualifying

period and thereafter during any one period ofdisability, that the employee is unable,

solely because of disease, accidental bodily injury or a pregnancy*related condition

to work at any reasonable occupation.

“Reasonable occupation” is defined under the Plan as:

any gainful activity for which the employee is or may reasonably become, fitted by

education, training, or experience, and in which other people of similar background

are actually employed as their principal means of support.

In determining that Plaintiff was ineligible for LTD benefits Defendant relied on 1) Dr.
Stevens and Dr. Korevaar’s reports generated from their review of Plaintiff s medical files 2) the
PCE completed by Dr. Stevens, and 3) a vocational analysis completed based on Dr. Stevens’ report.
Thus, it can be deduced that Defendant relied very heavily on the recommendations of Dr. Stevens.

Dr. Stevens evaluated the medical records available to him, which included reports generated
by doctors who had treated Plaintiff. These medical records indicated that an Independent Medical
Ex am (“lME”) of Plaintiff was conducted on January 14, 1993. The IME states that Plaintiff’ s “back

reveals marked flattening of the normal lordotic curve. This is a physical finding often seen in

patients who have chronic back pain and muscle spasm.” The doctor who conducted the IME

Case 2:O4-cv-O2503-BBD-dkv Document 35 Filed 04/26/05 Page 7 of 9 Page|D 33

concurred with Dr. McAfee’s “diagnosis of chronic lumbrosacral strain superimposed on preexisting
degenerative changes in the lower lumbar spine. . . .” The doctor noted that Plaintiff`s diagnosis
necessitated lifting, standing, and sitting restrictions

Dr. McAfee, Plaintiff’ s treating physician, submitted annual updates to Defendant through
.lanuary 2001. Dr. McAfee’s January 2001 statement declared that Plaintiff suffered from
degenerative lumbar disc and joint disease. The medical record further indicated that Plaintiffhad
been under the care of a chiropractor since 1996 for lower back pain. David Kelling, one of
Plaintiff’ s chiropractors wrote a letter which was included in Defendant’ s file. Kelling opined that
he had treated Plaintiff on August 7, 2002, for lower back pain and that Plaintiff’s x-rays indicated
that he suffered from a “chronic degenerative nature” to his lower back. Other doctors’ reports
which were reviewed by Defendant included notations to Plaintiff s back condition. These notations

393

included such statements as “in for lower back pain. . . . ‘Back trouble for years Moreover,
Plaintiff"s medical records indicate that he took Celebrex for back pain.

Dr. Stevens’ report indicated that he relied on a cardiac stress test performed in 1999, which
indicated that Plaintiff could exercise at a level equivalent to heavy work. The Court’s review of
Plaintiff’ s cardiac stress test and the medical record indicates however, that Dr. Bell terminated the
test because Plaintiff experienced lightheadedness and had a poor blood pressure response.
Moreover, it is unclear why this is relevant to a determination that Defendant was disabled due to
a back condition The Court makes no finding as to the credibility of Dr. Stevens’ evaluation except
to note that Dr. Stevens never physically evaluated Plaintiff.

Dr. Korevaar reviewed Plaintiff’s medical records after Plaintiff appealed Defendant’s

decision. Dr. Korevaar concurred with Dr. Stevens’ evaluation of the record. Dr. Korevaar

Case 2:O4-cv-O2503-BBD-dkv Document 35 Filed 04/26/05 Page 8 of 9 Page|D 34

additionally gave her opinion of Dr. Hellman’ s findings regarding Plaintiff’ s condition. Dr. Hellman
examined Plaintiff in August 2002 and opined that Plainti ff could not stand or walk for more than
three hours in a day, could only push or pull no more than fifteen pounds could occasionally lift or
carry fewer than ten pounds and could only sit for less than three hours in a day, Dr. Korevaar
believed that Dr. Hellman’s findings Were inconsistent with the remainder of the Plaintiff’ s medical
records Like Dr. Stevens, Dr. Korevaar did not perform a physical examination of Plaintiff.

The Court recognizes that Defendant based its decision to terminate Plaintiff’ s LTD benefits
on the opinions of two doctors and a PCE of Plaintiff’s abilities that was premised on Dr. Stevens’
report Based on the Court’s review of the record and the fact that Defendant is the decision maker
and the insurer, however, the Court finds that a genuine issue of material fact exists as to whether
Defendant’s reason to terminate Plaintiffs LTD benefits was reasonable based on the evidence
Thus, a question exists as to whether the decision was arbitrary or capricious Accordingly, the
Court DENIES both Plaintiff’s and Defendant’s motions
IV. CONCLUSION

F or the aforementioned reasons the Court denies Plaintiff’ s motion for summary j udgment.

Likewise, the Court denies Defendant’s motion for entry of judgment

IT rs so oRI)EREl) this Q'EJ‘”¢` day 0prri1,2005.

  
  

B NICE BOU DONALD
ITED STATES DISTRICT COURT

 

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 35 in
case 2:04-CV-02503 was distributed by fax, mail, or direct printing on
Apri126, 2005 to the parties listed.

 

 

.l ames R. Becker

CRONE & MASON, PLC
5100 Poplar Ave.

Ste. 3200

1\/lemphis7 TN 38137

Kenneth A. Weber

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ- Nashville
211 Commerce St.

Ste. 1000

Nashville, TN 37201

Honorable Bernice Donald
US DISTRICT COURT

